                                                     SIGNED.


                                                     Dated: September 3, 2021




                                                    _________________________________
                                                    Paul Sala, Bankruptcy Judge




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                                    Russell Brown
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